         Case 24-30885 Document 25 Filed in TXSB on 04/01/24 Page 1 of 1
                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                                April 01, 2024
                       FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                HOUSTON DIVISION

IN RE:                                           §
                                                 §       CASE NO: 24-30885
JOANNA BURKE,                                    §
                                                 §
         Debtor.                                 §
                                                 §
                                                 §       CHAPTER 13

                         ORDER MOOTING MOTION TO ABATE

       This matter is before the Court on the First Verified Motion to Abate Proceedings (ECF
No. 23) filed by the debtor, pro se. This case was dismissed on April 1, 2024, due to the debtor’s
failure to abide by the Court’s order requiring all bankruptcy statements schedules, and the credit
counseling certificate to be filed by March 29, 2024 (ECF No. 17).
       ACCORDINGLY, IT IS ORDERED that the First Verified Motion to Abate Proceedings
is denied as moot.
         SIGNED 04/01/2024


                                                     ___________________________________
                                                     Jeffrey Norman
                                                     United States Bankruptcy Judge




1/1
